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                         UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT COURT OF NEW YORK

JAA DOE,                                                   Case No. 1:24-cv-00345-AT

                   Plaintiff,
v.                                                            NOTICE OF MOTION AND
                                                             MOTION TO WITHDRAW AS
NEIL PORTNOW; NATIONAL ACADEMY                                      COUNSEL
OF RECORDING ARTS & SCIENCES,
INC.; DOES 1-5 whose identities are
unknown to Plaintiff,

                   Defendants.



       PLEASE TAKE NOTICE that, upon the accompanying Declaration of Counsel, the law

firm of Jeff Anderson & Associates, respectfully moves for an Order permitting it to withdraw as

counsel for Plaintiff, pursuant to Local Civil Rule 1.4.

       Further, we respectfully request that the Court extend any impending deadlines to a later

date sufficient to permit new counsel for Plaintiff to make appropriate filings or appearances.

Dated: New York, New York
       May 6, 2024
                                             /s/ Jeffrey R. Anderson
                                             Jeffrey R. Anderson
                                             Trusha Goffe
                                             Nahid Shaikh
                                             JEFF ANDERSON & ASSOCIATES, P.A.
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                                             Counsel for Plaintiff
